Case 19-01070        Doc 11         Filed 07/12/19 Entered 07/12/19 10:35:43             Desc Main
                                      Document     Page 1 of 7


                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                        EASTERN DIVISION

In re

MEGHAN J. DEPIN,                                      Chapter 13
                                                      Case No. 19‐11130
        Case No. 17‐11132‐FJB
                         Debtor

BEACON ABA SERVICES, INC.,

                        Plaintiff

v.
                                                      Adversary Proceeding
MEGHAN J. DEPIN,
                                                      No. 19‐1070
                        Defendant



                                SCHEDULING AND PRETRIAL ORDER

 1. The Court enters this order in an effort to expedite the disposition of the matter, discourage
    wasteful pretrial activities, and improve the quality of the trial through thorough preparation.
    The parties are strongly urged to consider resolving their dispute by mediation. Parties are
    advised that Judge Bailey’s pre‐trial order and procedures have been revised to comply with
    the amendments to the Federal Rules of Civil Procedure effective December 1, 2015. Unless
    otherwise ordered, the parties shall comply with all obligations and deadlines set forth herein.

 2. Proportionality in Discovery. Pursuant to Fed. R. Civ. P. 26(b)(1) and 26(g), the discovery in this
    case shall be proportional to the needs of the case, considering the importance of the issues at
    stake in the action, the amount in controversy, the parties’ relative access to relevant
    information, the parties’ relative resources, the importance of the discovery in resolving the
    issues, and whether the burden or expense of the proposed discovery outweighs its likely
    benefit.

 3. Cooperation. The parties and counsel shall cooperate during all aspects of discovery. Failure by
    any party or counsel to make required disclosures or cooperate in discovery may warrant the
    imposition of sanctions under Fed. R. Civ. P. 37.

 4. Duty to Preserve Evidence: The parties shall preserve evidence relevant to the issues raised by
    the pleadings, including electronically stored information (“ESI”). Within seven (7) days of the
    entry of this order, each counsel shall confirm to the Court in writing that he or she has
    conferred with his or her client regarding the duties of parties to preserve evidence and the
    provisions of Fed. R. Civ. P. 37(e).
Case 19-01070        Doc 11      Filed 07/12/19 Entered 07/12/19 10:35:43                  Desc Main
                                   Document     Page 2 of 7

 5. Rule 26(f) Discovery Conference. The parties are ordered to confer as soon as possible pursuant
    to Fed. R. Civ. P. 26, but in any event no later than twenty‐one (21) days from the date of this
    order.

 6. Rule 26(f) Discovery Conference Certification and Written Report. Within fourteen (14) days
    of the Fed. R. Civ. P. 26(f) conference, the parties shall file a written report that contains the
    following:

         a. A certification that the Rule 26(f) conference has taken place.

         b. A proposed discovery plan that addresses all topics set forth in Rule 26(f)(3) and
            contains any appropriate protocols for the discovery or disclosure of ESI.

         c. A statement that the parties have complied with the automatic disclosure provisions of
            Rule 26(a)(1) and (2) or an explanation of why the parties have not yet complied as well
            as a description of what actions the parties are taking to comply with Rule 26(a)(1) and
            (2).

         d. An estimation of the length of trial.

         e. A statement as to the Court’s authority to enter a final order as to each matter in
            dispute and a statement as to whether the parties consent to the entry of a final order
            by this Court as to each matter in dispute.

         f.   In the event any party has demanded a jury trial:

                  i. A statement by the party(ies) demanding a jury trial as to the specific matters to
                     which the jury demand applies;

                  ii. A statement by each party as to the legal basis for the right to a jury trial; and

                  iii. A statement by each party as to whether it consents to the Court conducting the
                       jury trial.

         g. In the event any party anticipates the disclosure or discovery of ESI in this matter, a
            certification that the parties have conferred regarding the following:

                  i. Any issues about preservation, disclosure, discovery or presentation of ESI,
                     including the form or forms in which the ESI shall be provided and the nature
                     and extent of the contemplated ESI discovery.

                  ii. The various sources of ESI within a party's control, and whether either party has
                      relevant ESI that it contends is not reasonably accessible under Rule 26(b)(2)(B),
                      and if so, the estimated burden or costs of retrieving and reviewing that
                      information.

                  iii. The characteristics of the party’s information systems that may contain relevant
                       ESI, including, where appropriate, the identity of individuals with special
                       knowledge of a party’s computer systems.
                                                    2
Case 19-01070     Doc 11      Filed 07/12/19 Entered 07/12/19 10:35:43                   Desc Main
                                Document     Page 3 of 7


                iv. Whether the costs and burdens of discovery, especially discovery of ESI, may be
                    reduced by entering into a non‐waiver agreement pursuant to Fed. R. Evid.
                    502(e), supplementing paragraph 11 of this Order.

      h. Order to Show Cause Regarding Liability Claim: By its complaint in this adversary
         proceeding, the Plaintiff seeks not only to determine whether certain unliquidated
         liability of the Defendant and Debtor is excepted from discharge, but also to determine
         and liquidate the underlying state‐law claim for liability. The Court now ORDERS THE
         PARTIES TO SHOW CAUSE why it should not abstain under 28 U.S.C. § 1334(c)(1) from
         adjudicating the underlying claim for liability. (To be clear, abstention would be limited
         to the claim for liability; the Court would retain jurisdiction over the counts under 11
         U.S.C. § 523(a) for determination of whether the underlying liability is excepted from
         discharge.) The Court would abstain for the following reasons:

                i. First, adjudication of a debtor’s liabilities is not a special bankruptcy function but
                   the usual province of the state courts. The Bankruptcy Court’s resources are
                   intended to serve those functions that are core and special to bankruptcy, such
                   as determination of the dischargeability of a debt or liability. By adjudicating
                   the underlying debt, this Court both takes over the usual function of the state
                   court and reduces the time and resources available to it to handle those matters
                   within its core bankruptcy jurisdiction. As a general rule, a bankruptcy court
                   should not exercise jurisdiction over non‐core matters unless doing so would
                   further a bankruptcy purpose. Here, no such purpose would be served.

                ii. Second, litigation of the underlying claims should, in the normal course, await
                    determination of their dischargeability. The discharge is intended to protect a
                    debtor from the need and cost of litigating discharged debts. Joining the liability
                    and dischargeability counts in one proceeding may force the debtor to incur
                    defense costs unnecessarily.

                iii. Third, the underlying state law claims do not appear to be core proceedings
                     within the meaning of 28 U.S.C. § 157(b) and (c). Accordingly, without the
                     consent of both parties, the Court could not enter final judgment in the matter
                     but would be limited to entering only proposed findings and conclusions,
                     subject to review de novo in the District Court. See 28 U.S.C. § 157(c)(1) and (2).
                     Where the claim can be adjudicated with finality in another forum, this process
                     is disfavored as inconsistent with judicial economy.

                iv. Fourth, it is doubtful that the claim for liability even falls within the court’s
                    subject matter jurisdiction at all. Where subject matter jurisdiction is wholly
                    lacking, the court should not exercise jurisdiction. And where subject matter
                    jurisdiction is at best highly‐doubtful and there exist other forums of known
                    competent jurisdiction, prudence and judicial economy counsel in favor of
                    abstention.


          For these reasons, the Court hereby orders the parties to show cause why it should not,
          in the interests of justice and of comity with the state courts, abstain under 28 U.S.C. §
                                                3
Case 19-01070        Doc 11     Filed 07/12/19 Entered 07/12/19 10:35:43                 Desc Main
                                  Document     Page 4 of 7

             1334(c)(1) from adjudicating the underlying claims for liability. The parties’ responses
             to this order shall be filed on or before August 9, 2019. The parties shall include
             statements as to whether they consent to the Bankruptcy Court’s entering final
             judgment as to any claim for liability should the Court conclude that it is not a core
             proceeding; and they shall further state their positions as to whether each claim for
             liability is a core proceeding. If no response is timely filed, the Court will, without
             further process, issue an order of abstention as to the counts for liability.

 7. Completion of Discovery. Absent further order of the Court, upon appropriate motion and/or
    consideration of the discovery plan, discovery shall be completed ninety (90) days from the
    date of this order.

 8. Expert Witness Disclosures. Absent further order of the Court upon appropriate motion,
    including an order approving a proposed discovery plan, disclosures under Fed. R. Civ. P.
    26(a)(2), including disclosure of the expert witness written report required by Fed. R. Civ. P.
    26(a)(2)(B), shall be completed at least thirty (30) days prior to the date set for completion of
    discovery.

 9. Limitations on Discovery. Absent further order of the Court upon appropriate motion, including
    an order approving a proposed discovery plan, the following limitations shall apply:

         a. Interrogatories. Interrogatories propounded under Fed. R. Civ. P. 33 shall be limited to
            fifteen (15) in number, including subparts. Interrogatories will be answered within
            thirty (30) days of service, absent written agreement of the parties consistent with this
            order. Objections to interrogatories will be stated with specificity and failure to do so
            may be deemed to be a failure to answer pursuant to Fed. R. Civ. P. 33(a)(4).

         b. Requests for Production of Documents. Requests under Fed. R. Civ. P. 34 shall be
            limited to fifteen (15) in number. Any objections to Rule 34 requests shall state with
            specificity the grounds for objecting to the request, and failure to do so may be deemed
            a refusal to answer pursuant to Rule 37(a)(4). Pursuant to Fed. R. Civ. P. 34(b)(2)(C), an
            objection must state whether any responsive materials are being withheld on the basis
            of that objection. All other terms of amended Rule 34 apply in this case.

         c. Depositions. Absent agreement in writing by the parties or further order of the Court,
            parties shall be limited to deposing two (2) fact witnesses (excluding parties, experts,
            and those deposed pursuant to Fed. R. Civ. P. 30(b)(6)), and each deposition shall not
            exceed four (4) hours of actual questioning time as recorded by the stenographer.
            Depositions of parties, depositions of experts, and depositions pursuant to Rule 30(b)(6)
            shall not exceed seven (7) hours of actual questioning time as recorded by the
            stenographer.

 10. Discovery‐Related Disputes and Motions. Pursuant to Fed. R. Civ. P. 16(b)(3)(B)(v), no
     discovery‐related motion may be filed unless the moving party has attempted in good faith, but
     without success, to resolve the dispute and has requested a pre‐motion conference with the
     Court to discuss the dispute and to attempt to resolve it informally. Such request for a pre‐
     motion conference shall be made by a one‐page, single‐spaced letter to the Court, filed by the
     party seeking relief. The request shall contain no argument, but shall provide a general
     summary of the issues to be discussed at the conference. No response to the request shall be

                                                  4
    Case 19-01070         Doc 11       Filed 07/12/19 Entered 07/12/19 10:35:43                     Desc Main
                                         Document     Page 5 of 7

         filed unless directed by the Court. If the Court does not grant the request for a pre‐motion
         discovery conference, or if the conference fails to resolve the dispute, then with Court
         permission, a discovery motion may be filed.

         Unless otherwise permitted by the Court, discovery‐related motions and responses thereto shall
         not exceed three, single‐spaced pages, in twelve‐point font. Additional replies shall not be filed
         unless requested by the Court following review of the motion and response.

     11. Non‐Waiver of Attorney‐Client Privilege or Work Product Protection. Absent further order of
         the Court after consideration of the discovery plan, in accordance with Fed. R. Evid. 502(d),
         except when a party intentionally waives the attorney–client privilege or work product
         protection by disclosing such information to an adverse party, the disclosure of attorney–client
         privileged or work product protected information in connection with this proceeding shall not
         constitute a waiver in this proceeding or in any other federal or state proceeding. A party that
         produces attorney–client privileged or work product protected information to an adverse party
         without intending to waive the privilege or protection must notify the adversary that it did not
         intend a waiver by its disclosure promptly upon discovering the disclosure. Any dispute
         regarding whether the disclosing party has properly asserted the attorney–client privilege or
         work product protection shall be brought promptly to the attention of the Court if the parties
         are not able to resolve such dispute.

     12. Joinder and Amendment Deadlines. Absent further order of the Court upon appropriate
         motion, the deadline for amending the pleadings and for joining other parties shall be forty‐
         five (45) days from the date of this order.

     13. Dispositive Motions. Any dispositive motion must be filed no less than seven (7) business
         days prior to the date fixed for the filing of the Joint Pretrial Memorandum or the relief sought
         in such motions shall be deemed to have been waived. Upon the filing of a dispositive motion,
         the parties may request an extension of the time to file the Joint Pretrial Memorandum.

     14. Joint Pretrial Memorandum. Absent further order of the Court, the parties are ordered to file
         within thirty (30) days after the date for completion of discovery a Joint Pretrial
         Memorandum1 approved by all counsel and unrepresented parties, which shall set forth the
         following:

             a. The name, address, and telephone number of each witness, separately identifying those
                whom the party expects to present and those whom the party may call if the need
                arises, together with any objection to the calling of the witness (see paragraph (e)
                below).

                           If a party requires an interpreter at trial for one of that party’s witnesses, it will
                           be the responsibility of that party to supply the interpreter. The Court cannot
                           and does not supply interpreters.



1
 If the parties cannot cooperate in filing a Joint Pretrial Memorandum, then each shall be responsible for filing, by
the same date, a separate Pretrial Memorandum that conforms to the requirements set forth in this paragraph. In
the event that the parties cannot cooperate in filing a Joint Pretrial Memorandum, they shall report the reasons
therefore in their separately filed Pretrial Memoranda.
                                                             5
Case 19-01070        Doc 11      Filed 07/12/19 Entered 07/12/19 10:35:43                  Desc Main
                                   Document     Page 6 of 7

         b. A list of witnesses whose testimony is expected to be presented by means of a
            deposition and, if taken stenographically, a transcript of the pertinent portions of the
            deposition testimony, together with objection to such testimony (see paragraph (e)
            below).

         c. A list of witnesses intended to be called as experts, together with any objection to the
            calling of such expert (see paragraph (e) below), and a certification that the expert’s
            report has been served on the opposing party(ies) in accordance with Fed. R. Civ. P.
            26(a)(2) and paragraph 8 of this order.

         d. An appropriate identification (pre‐numeration) of each document or other exhibit, other
            than those to be used for impeachment, in the sequence in which they are expected to
            be offered, including summaries of other evidence under Federal Rule of Evidence 1006,
            separately identifying those exhibits which the party expects to offer and those which
            the party may offer if the need arises.

         e. A specific statement of any objection, together with the grounds therefor, reserved as
            to the admissibility of deposition testimony designated by another party and/or to the
            admissibility of documents or exhibits. Objections not so disclosed, other than
            objections under Rules 402 and 403 of the Federal Rules of Evidence, shall be deemed
            waived unless excused by the Court for good cause shown.

         f.   A statement confirming that the parties have exchanged copies (either electronic or
              paper copy) of the exhibits.

         g. If applicable, a statement disclosing any records of regularly conducted business activity
            under Federal Rule of Evidence 803(6) that the parties intend to present by certification,
            as permitted by the Federal Rule of Evidence 902(11) and (12), rather than by testimony
            of an authentication witness.

         h. A statement indicating the parties’ positions on attempting to resolve their dispute by
            mediation. In the event the parties agree in good faith to mediation, the Court will
            liberally consider any motion to postpone the trial to accommodate the mediation.

         i.   Facts to which the parties have stipulated.

         j.   The issues of fact which remain to be litigated (evidence at trial shall be limited to these
              issues).

         k. The issues of law to be determined.

         l.   A brief statement summarizing the Plaintiff’s case.

         m. A brief statement summarizing the Defendant’s case.

         n. Any revisions of the estimated length of trial since the filing of the written report
            required paragraph 6 above.

 15. Trial or Final Pretrial Conference. A pretrial conference or trial shall be scheduled after the
     filing of the Joint Pretrial Memorandum.
                                                   6
    Case 19-01070        Doc 11       Filed 07/12/19 Entered 07/12/19 10:35:43                    Desc Main
                                        Document     Page 7 of 7


     16. Trial Briefs. Counsel may, but need not, file trial briefs, which shall be filed seven (7) days prior
         to trial, unless a shorter period is specified by the Court.

     17. Exhibits and Demonstratives.

             a. Parties shall pre‐mark exhibits and assemble them in binders tabbed with appropriate
                exhibit numbers, which shall be available at the commencement of the trial. Each
                document or other exhibit shall be given a separate exhibit number.

             b. Parties shall bring sufficient copies of all exhibits to Court for trial so that a copy is
                available for each of the Judge, the Courtroom Deputy, the Law Clerk, the witness, and
                all counsel.

             c. Judge Bailey’s courtroom is equipped with an electronic evidence presentation system
                for displaying trial exhibits. The Court expects all attorneys to make use of this
                equipment.2

             d. Written summaries and/or charts presented to the Court in conjunction with closing
                statements,3 as an aid and not as evidence, must be provided to opposing counsel prior
                to the commencement of the closing statement, and any objections must be raised prior
                to the commencement of the closing statement. Closing summaries and/or charts may
                not include information which was not presented and admitted in evidence during the
                trial.

     18. Proposed Findings of Fact and Conclusions of Law. After trial, counsel may (by separate order)
         be required to submit proposed findings of fact and conclusions of law.

     19. Failure to Comply with this Order. This order and the deadlines established by the Court may
         not be modified absent further order of the Court. Failure to strictly comply with the provisions
         of this order may result in the automatic entry of a dismissal or a default, or sanctions, as the
         circumstances warrant in accordance with Fed. R. Civ. P. 16 and 37.



Date: July 12, 2019                                          _______________________________
                                                             Frank J. Bailey
                                                             United States Bankruptcy Judge




2
  Questions regarding the electronic evidence presentation system may be directed to Judge Bailey’s Courtroom
Deputy, Mary Murray (Mary_Murray@mab.uscourts.gov).
3
  Written summaries and/or charts that counsel propose to present prior to closing statements shall be identified
and produced as set forth in paragraph 14.
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